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                                                        March 2, 2023

        Hon. Vera M. Scanlon
        United States Magistrate Judge
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, NY 10007

                 Re:     Artec Europe S.À.R.L. v. Shenzhen Creality 3D Tech. Co., Ltd, et al.
                         Case No.: 1:22-1676 (WFK)(VMS)

        Dear Judge Scanlon:

                 We represent Plaintiff Artec Europe S.à.r.l. (“Artec”) in the above captioned matter. On
        February 8, 2023, Artec filed a Letter Motion for Alternative Service (the “Motion”) (Dkt. 83)
        requesting that the Court permit it to serve newly added Defendant Shenzhen Jimuyida 3D
        Technology Co., Ltd. (“Jimuyida”) via alternative methods. Consistent with our understanding of
        §§ III.a. and III.b. of Your Honor’s Individual Practice Rules, we filed the Motion as a letter
        motion. Further, pursuant to § III.b. of Your Honor’s Individual Practice Rules, our understanding
        is that the deadline for any response was February 13, 2023. To date, there has been no response
        to the Motion.

                Given the impending deadlines in this case regarding Artec’s claims of patent and
        copyright infringement, and to ensure that the addition of Defendant Jimuyida does not delay the
        resolution of this case, we respectfully request that the Court advise Artec if any additional
        information or briefing is needed to resolve the issues presented in the Motion.

                 We thank the Court for its attention to this matter.

                                                                    Respectfully,

                                                                    /s/ Richard de Bodo
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        cc: All counsel of record via ECF



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